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                    7

                    8                                         UNITED STATES DISTRICT COURT
                    9                                   NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11     WHATSAPP INC., a Delaware                            Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  12     Delaware corporation,                                [PROPOSED] ORDER GRANTING JOINT
                                                                              STIPULATION TO ENLARGE TIME FOR
                  13                            Plaintiffs,                   DEFENDANTS TO OPPOSE PLAINTIFFS’
                                                                              MOTION TO DISQUALIFY AND
                  14     v.                                                   PLAINTIFFS’ REPLY IN SUPPORT OF
                                                                              THEIR MOTION TO DISQUALIFY
                  15     NSO GROUP TECHNOLOGIES
                         LIMITED and Q CYBER                                  Date:      May 15, 2020
                  16     TECHNOLOGIES LIMITED,                                Courtroom: 3

                  17                            Defendants.                   Judge:       Hon. Phyllis J. Hamilton

                  18

                  19              PURSUANT TO STIPULATION, IT IS SO ORDERED THAT:

                  20              1.       Defendants will have an additional week to oppose Plaintiffs’ Motion to

                  21                       Disqualify Defense Counsel (“Motion”), extending their deadline to file their

                  22                       opposition to May 29, 2020; and

                  23              2.       Plaintiffs will have an additional week to reply to Defendants’ opposition,

                  24                       extending their deadline to file their reply to June 12, 2020.

                  25     Dated: _______________, 2020.

                  26
                  27                                                      __________________________________________
                                                                          Hon. Phyllis J. Hamilton
                  28     4846-1425-5292, v. 1

LONG & LEVIT LLP
465 CALIFORNIA STREET,                                                                    [PROPOSED] ORDER GRANTING JOINT STIPULATION
      5TH FLOOR
    SAN FRANCISCO,                                                                                    TO ENLARGE TIME – 4:19-cv-07123-PJH
   CALIFORNIA 94104
